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                                                                                        FILED
                                                                                      FEB 2 3 2023
                                                                                  Cl.ERK, U.S. DISTRICT COURT
                          IN THE UNITED STATES DISTRICT COURT                     NORTHERN DISTRICT OF OHIO
                                                                                          CLEVELAND
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )   INDICTMENT
                                                   )
                   Plaintiff,                      )
                                                   )
         v.                                        )

 CODY SEBASTIAN STOKOVICH,
                                                   )
                                                   )                       CR             00.88
                                                   )             Title 18, United States Code,
                                                   )             Sections 922(g)(l), and 924(a)(8)
                   Defendant.                      )
                                                                         JUDGE OLIVER
                                           COUNT!
      (Felon in Possession ofFirearms and Ammunition, 18 U.S.C. §§ 922(g)(l) and 924(a)(8))

The Grand Jury charges:

       1.      On or about February 2, 2023, in the Northern District of Ohio, Eastern Division,

Defendant CODY SEBA~TIAN STOKOVICH, knowing he had previously been convicted of

crimes punishable by imprisonment for a term exceeding one year, those being: Aggravated

Trafficking in Drugs with a firearm specification, on or about August 14, 2018, in Case Number

2018CRC-1 000128, in the Wayne County Court of Common Pleas and Aggravated Trafficking

in Drugs with a firearm specification, on or about August 14, 2018, in Case Number 2018CRC-1

000169, in the Wayne County Court of Common Pleas, knowingly possessed in and affecting

interstate commerce firearms, to wit: a Bushmaster Rifle, model 223, serial number BFI63 l 268

and a Ruger, model RP9, 9mm caliber, serial number RP0354 7OH, and ammunition, said

firearms and ammunition having been shipped and transported in interstate commerce, in

violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).
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                                         FORFEITURE

The Grand Jury further charges:

       2.      For the purpose of alleging forfeiture pursuant to Title 18, United States Code

Section 924(d)(l) and Title 28, United States Code, Section 2461(c), the allegation of Count I is

incorporated herein by reference. As a result of the foregoing offense, Defendant CODY

SEBASTIAN STOKOVICH, shall forfeit, all firearms and ammunition involved in or used in the

commission of the violation charged in Count I; including, but not limited to, the following: a

Bushmaster Rifle, model 223, serial number BFI631268 and a Ruger, model RP9, 9mm caliber,

serial number RP03547OH, and ammunition, seized on February 2, 2023.



                                                    A TRUE BILL.




Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.




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